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1    Hon. Margaret M. Morrow (Ret.)
     Judicate West
2    601 S. Figueroa Street
     #3400
3    Los Angeles, California 90017
     (213) 223-1113
4
     Special Master
5
                                            UNITED STATES DISTRICT COURT
6
                                          CENTRAL DISTRICT OF CALIFORNIA
7
                                             WESTERN DIVISION – Los Angeles
8
     YUGA LABS, INC.,                                               CASE NO.: 2:22-cv-04355-JFW-JEMx
9
                       Plaintiff,
10
     vs.                                                            (JW Reference No. A310859)
11
     RYDER RIPPS, JEREMY CAHEN,
12
                       Defendants.                                  ORDER RE RECORD BEFORE THE SPECIAL
13                                                                  MASTER ON MOTION FOR ATTORNEYS’ FEES

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              On December 6, 2023, Judge John F. Walter appointed the undersigned as a special master to resolve any
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     objections to Yuga Labs’ fees and costs requests pursuant to Rules 53 and 54(d)(2)(D) of the Federal Rules of Civil
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     Procedure and the court’s November 28, 2023 Order (Dkt. 437). Both parties advised the special master that they
18
     did not believe a hearing was required, and that the issue could be decided on the basis of the joint statement
19
     submitted to Judge Walter (Dkt. 435) and certain additional pleadings and orders that one or the other of the parties
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     submitted for review. 1
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              While the special master is prepared to decide the question of attorneys’ fees on the record before her, she
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     wishes to provide both parties an opportunity to submit any additional evidence they deem relevant and necessary to
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     decision of the issue. The special master appreciates that the manner in which the issue was joined in district court
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     perhaps caused the parties to present their positions in somewhat more summary fashion than they would have had a
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     1
      Defendants objected to plaintiff’s submission of docket entries 1, 1-1, 62, 65, 156, 178, 225, and 431, but
28   subsequently submitted docket entries 77, 79, 133, 144, 145, 159, 315-1 and 334 as documents they believed were
     “relevant given the materials Plaintiff ha[d] sent.”


                                                                1
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1    formal attorneys’ fees motion been filed. Thus, certain types of supporting evidence that would normally be in the

2    record are absent here, e.g., information concerning the attorneys who performed the services and rates in the

3    relevant community as well as more specific objections to the reasonableness of the time billed. 2

4             Should either party wish to augment the record, they may do so by filing an appropriate pleading or

5    pleadings on or before December 22, 2023. By that date as well, the special master requests that plaintiff state

6    whether it continues to seek $7,500,000 in attorneys’ fees or another amount. 3

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8    DATED: December 15, 2023

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10                                                                  Hon. Margaret M. Morrow (Ret.)
                                                                    Special Master
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       In their portion of the joint statement, defendants “expressly reserve[d], and [did] not waive, their right to appeal
     the determination that the award of any fees or costs is just or permissible and reserve their objections to each
27   specific item in Yuga’s facially unreasonable request.” By this order, the special master is affording defendants the
     opportunity to state their objections to specific items in plaintiff’s request.
28   3
       In its portion of the joint statement, plaintiff “reserve[d] the right to seek all fees, costs, and expenses if
     Defendants’ refusal to negotiate in good faith requires appointment of a special master.”


                                                                2
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                                              PROOF OF SERVICE

           I, the undersigned, am an employee of Judicate West, located at 1851 East First Street Suite 1600, Santa
   Ana, CA 92705 declare under penalty of perjury that I am over the age of eighteen (18) and not a party to this
   matter or proceeding.

           On December 15, 2023, I served the foregoing documents, described as:

         ORDER RE RECORD BEFORE THE SPECIAL MASTER ON MOTION FOR
                             ATTORNEYS’ FEES

   SEE ATTACHED MAILING LIST

     (X) BY E-MAIL I caused the above-referenced document to be transmitted via electronic
         mail (e-mail) to the parties as listed on this Proof of Service
     ( ) BY ELECTRONIC FILING I caused such document to be sent via electronic service
         by submitting an electronic version of the document(s) to One Legal, LLC, through the
         user interface at www.onelegal.com.
     ( ) BY FASCIMILE I caused the above-referenced document to be transmitted via
         facsimile to the parties as listed on this Proof of Service. The document was transmitted
         by facsimile transmission and the transmission was reported as complete and without
         error.
     ( ) BY PERSONAL SERVICE I personally delivered the documents to the persons at the
         address (es): by leaving the documents at the person (s) office, in an envelope or package
         clearly labeled to identify the person(s) being served, with a receptionist or an individual
         in charge of the office.
     ( ) BY UNITED STATES PARCEL SERVICE I am readily familiar with the business'
         practice for collection and processing of correspondence and mailing with the United
         States Postal Service; such correspondence would be deposited with the United States
         Postal Service the same day of deposit with postage thereon fully prepaid at Santa Ana,
         California in the ordinary course of business
     (X) STATE I declare under penalty of perjury under the laws of the State of California that
         the foregoing is true and correct.
     ( ) FEDERAL I declare that I am employed in the office of a member of the bar of this
         court at whose direction the service was made.
   Executed on December 15, 2023, at Santa Ana, California

                                                               Heidi Adams
                                                               Judicate West




CENTURY CITY │DOWNTOWN LOS ANGELES │ OAKLAND │ SACRAMENTO │ SAN DIEGO │ SANTA ANA
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